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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                            )
                                                     )
                 Plaintiff,                          )
                                                     )
       v.                                            )       CRIMINAL NO. 04-30139-WDS
                                                     )
JOSIAH COMPTON,                                      )
                                                     )
               Defendant.                            )


                                 MEMORANDUM & ORDER

STIEHL, District Judge:

       Before the Court is defendant’s motion to suppress statements (Doc. 543), to which the

government has filed a response (Doc. 556). The Court held an evidentiary hearing on the

motion and took the matter under advisement.

       Defendant's motion asserts that at the time of his arrest he gave statements to law

enforcement, but that he was coerced into the interview and made statements as a result of

receiving pressure from his then-attorney and law enforcement. He also asserts that he was told

that if he gave a statement that his statement would not be held against him. He therefore asserts

that the statements made were not voluntary and therefore should be suppressed.

                                         DISCUSSION

       A.      Evidence Adduced At the Evidentiary Hearing

       At the evidentiary hearing, the government presented evidence that there were five sets of

statements taken in this case. The first statements were taken on April 8, 2004, the day after the

defendant was arrested. The second set of statements were taken on April 9, 2004, when the

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agents returned to speak to the defendant. The third statement was taken later that same day, and

the fourth statement was taken on May 7, 2004, in the presence of defendant’s then counsel, Tom

Hildebrand. At that statement the defendant and his attorney went to MEGSI Headquarters of

the Illinois State Police and gave a set of statements. There was another statement which was

taken on May 4, 2005, when agents from the Illinois State Police and Drug Enforcement

Administration met with the defendant and he gave a proffer. At that time, defendant was

represented by appointed counsel Brian Trentman. The government indicates that the May 4,

2005, statement was part of a proffer and the government does not intend to introduce that

statement at trial as part of its case in chief.

        Michael Parkinson, a Detective with the City of Granite City, testified that on April 7,

2004, he was a Granite City Police Officer, assigned as a Special Agent to MEGSI. He was part

of the team that executed a search warrant at a residence where the defendant was arrested. On

April 8, 2004, Parkinson, and Special Agent Charles Bremer, another Granite City police officer

assigned to MEGSI, spoke to the defendant at the Madison County Jail in Edwardsville, Illinois.

The defendant had been arrested on outstanding warrants that were unrelated to the search of the

residence.

        At the jail, defendant was read his rights from a standard MEGSI form. The defendant

indicated that he understood his rights, but refused to sign the form. He did not appear to be

under the influence of any drugs or alcohol and was described by Parkinson as articulate and

intelligent. Parkinson further testified that there were no promises made to the defendant and

that he spoke with them voluntarily and freely. They specifically discussed the gun that was

seized at the residence where defendant was arrested as well as the narcotics that were found


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there. The defendant indicated that the gun belonged to his girlfriend, Shavanda1 Watkins. The

defendant did not want to write anything, and wanted to be assured that he would be charged in

state court, not federal court. Parkinson told the defendant that he could make no promises about

where it would eventually be tried.

        The defendant offered to give Parkinson information about other crimes, including the

whereabouts of a fugitive wanted for murder. He also discussed his knowledge of alleged police

improprieties in Venice, Illinois, and then said that he wanted to rest and think about it until the

next day.

        On the next day, April 9, 2004, Parkinson and Bremer returned to Madison County Jail to

talk with the defendant, who was again read his Miranda rights, and again refused to write

anything. He did, however, speak freely to the officers and said that he wanted to cooperate.

The defendant was advised that if he wanted to cooperate, he would have to tell the truth and that

he could no longer deal in drugs and the like. The defendant told them that he would need some

time before he could cooperate because the drug dealers on the street would not trust him right

away when he got out of jail. The officers then left to attend a meeting, but returned to continue

their discussions with the defendant later that afternoon. At that time, they gave the defendant

their pager numbers and told him that once he made bond he should contact them.

        Bremer testified that each time they talked with the defendant he was read his Miranda

rights by one of the officers or read the form himself and was actually given the form by

Parkinson. However, defendant refused to sign the form. Bremer testified that the defendant

appeared to understand his rights and did not appear to be under the influence of anything, nor

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        It was unclear if her correct name is “Sharranda” or “Shavanda.” The Court will refer to her as
“Shavanda.”

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was there undue strain or pressure. Bremer testified that defendant’s statements were limited as

to any drug involvement or knowledge and that he said that he did not want to “go into that” at

the time of his questioning.

       The defendant testified in his own behalf that at the time of the questioning when he was

given the Miranda form he pushed it back to the officers and told them that he would not sign it

and that he did not want to talk. The defendant asserted that he only answered one question about

the gun, confirming that it belonged to Shavanda, and that he did not indicate to the officers that

they should or could come back the next day to talk with him.     He stated that he was not read

his rights on that second day, and was not given a form to read or to sign. He testified that he

told the officers that he did not have anything to say to them and that on one occasion, April 8,

2004, while he was being held in the Madison County Jail, he was told that he had an attorney

visitor, but it was actually Parkinson who attempted to interview him. After the defendant was

released, he went to his attorney’s office, Tom Hildebrand, where Parkinson and Bremer and

some additional four or five agents were apparently waiting for him there. The defendant stated

that he was threatened with indictment by the officers, but that he was not questioned nor did he

make a statement at that time.

       On another occasion, the defendant received a call from Hildebrand to meet him at

Illinois State Police Headquarters. When the defendant arrived, he was met by Hildebrand and

some six or seven officers, those who had been at Hildebrand’s office. The defendant testified

that he was questioned, but that he did not enter into that questioning willingly.

       On cross-examination, the defendant acknowledged that he has been arrested and charged

several times over the past seventeen years, but that at each event, he was neither given his


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Miranda rights nor did he make a statement. He did, however, acknowledge that he is familiar

with his rights.

        B.         Motion to Suppress statements

        Defendant seeks suppression of any statements he made on the grounds that his

statements were not voluntary.      It was clear from the hearing that although the defendant

refused to sign the Miranda warning form, his Miranda rights were read to him, he was

competent and not under any disability, and voluntarily gave an oral statement to Parkinson and

Bremer. There is nothing in the record to indicate that the defendant was suffering from an

overborne will or was not properly advised of his rights under Miranda. The Court FINDS more

credible the testimony of Parkinson and Bremer that the defendant was advised of his rights

before any questioning began. The Seventh Circuit has stated that:

                   the voluntariness of a statement is determined “by
                   considering whether, in light of the totality of the
                   circumstances, the statement was the product of a
                   rational intellect and free will,” “or whether it was
                   obtained by the authorities through coercive means,”
                   United States v. Brooks, 125 F.3d 484, 492 (7th
                   Cir.1997) (citing Mincey v. Arizona, 437 U.S. 385, 398
                   (1978), and Colorado v. Connelly, 479 U.S. 157,
                   165(1986)).

Ruvalcaba v. Chandler, 416 F.3d 555, 561 (7th Cir. 2005).

        Here, there is simply no evidence that the defendant’s will was overborne, or that he was

subject to improper, coercive actions by law enforcement. Although he refused to sign the

waiver, that does not render his confession involuntary, as the Seventh Circuit has held. In

United States v. Smith, 218 F.3d 777 (7th Cir. 2000), the court stated:

                   a Miranda waiver need not be express. It may be inferred from a
                   defendant's understanding of her rights coupled with a course of

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                  conduct reflecting her desire to give up her right to remain silent.
                  North Carolina v. Butler, 441 U.S. 369, 373-76 (1979). Indeed,
                  waiver may be inferred from the defendant’s conduct, even when
                  she has refused to sign a waiver form. United States v. Banks, 78
                  F.3d 1190, 1196-98 (7th Cir.1996), vacated on other grounds, 519
                  U.S.(1996), on remand, United States v. Mills, 122 F.3d 346
                  (1997), cert. denied 522 U.S. 1033 (1997).

218 F.3d at 280.    Here, the defendant indicated his intent to help himself by cooperating, and

answering the officers questions, at least in part. The mere fact that he refused to sign the waiver

form does not mean that he did not intend to waive his rights under Miranda.

       Further, “In evaluating whether a suspect voluntarily waived his Miranda rights, we

consider the same factors that we considered above in assessing the overall voluntariness of a

confession.” 416 F.3d at 562 (citations omitted). Applying this standard, the Court FINDS that

the defendant voluntarily chose to cooperate, and give a statement to the law enforcement agents.

       Accordingly, the Court DENIES defendant’s motion to suppress statements on all

grounds raised.

       IT IS SO ORDERED.

       DATED: October 4, 2006.



                                                       s/ WILLIAM D. STIEHL
                                                           DISTRICT JUDGE




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